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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION


   UNITED STATES OF AMERICA,                               4:23-CR-40092-KES
                     Plaintiff,                     ORDER ADOPTING IN PART,
                                                     MODIFYING IN PART, AND
        vs.                                          REJECTING IN PART THE
                                                          REPORT AND
   LUCAS EWALD AHRENDT,                              RECOMMENDATION, AND
                                                      GRANTING IN PART AND
                     Defendant.                    DENYING IN PART AHRENDT’S
                                                      MOTION TO SUPPRESS


      The Government filed an indictment against defendant, Lucas Ahrendt,

which charges Ahrendt with two counts of illegal possession of a firearm. See

Docket 1. Ahrendt moves to suppress all evidence that law enforcement found

on his person and in his vehicle on the night of his arrest, December 26, 2022.

See Docket 21. Ahrendt also moves to suppress the statements he made to

officers prior to being advised of his Miranda rights. Id.

      The court referred Ahrendt’s motion to Magistrate Judge Veronica L.

Duffy under 28 U.S.C. § 636(b)(1)(B). After holding an evidentiary hearing,

Magistrate Judge Duffy recommended Ahrendt’s motion to suppress be denied

in part and granted in part. Docket 30. Specifically, the Report and

Recommendation recommends that Ahrendt’s motion to suppress physical

evidence found on Ahrendt’s person and in his vehicle be denied. See id. at 36.

The Report and Recommendation recommends granting Ahrendt’s motion to

suppress the statements Ahrendt made to officers prior to his arrest. Id. Both

Ahrendt and the Government timely filed objections to the Report and
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Recommendation. Dockets 34, 37. After a de novo review of the Report and

Recommendation and the record, the court issues the following order.

                               LEGAL STANDARD

      This court’s review of a magistrate judge’s report and recommendation is

governed by 28 U.S.C. § 636 and Rule 59 of the Federal Rules of Criminal

Procedure. The court reviews de novo any objections to the magistrate judge’s

recommendations with respect to dispositive matters that are timely made and

specific. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). Because motions to

suppress evidence are considered dispositive matters, a magistrate judge’s

recommendation regarding such a motion is subject to de novo review.

28 U.S.C. § 636(b)(1); see also United States v. Raddatz, 447 U.S. 667, 673

(1980). In conducting a de novo review, this court may then “accept, reject, or

modify, in whole or in part, the findings or recommendations made by the

magistrate judge.” 28 U.S.C. § 636(b)(1); see also United States v. Craft, 30 F.3d

1044, 1045 (8th Cir. 1994).

                                     FACTS

      After reviewing the suppression hearing’s transcript and the exhibits

received into evidence, the court makes the following factual findings necessary

to resolve Ahrendt’s motion:

      On December 26, 2022, at approximately 8:56 p.m., an individual who

identified himself as Kelly Rear called 911 dispatch, and reported that he had

seen a male smoking a joint and waving “some sort of pistol” around. See

Docket 27 at 1-2; Docket 28 at 7. According to Rear, the male did not point the


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gun at anyone. Docket 27 at 2. Rear told 911 dispatch that the male was

sitting in the passenger seat of a black Ford F-150 with Colorado license plates.

Id. Rear also told 911 dispatch that he saw a female with black hair sitting in

the driver’s seat of the pickup truck. See id. at 2. Rear reported this

information from a Get-n-Go on the corner of 57th and Marion. See id. at 1.

Additionally, Rear left a call-back number. See id. at 2.

      That night, Officer Austin VanDiepen and Officer Justin Purcell were on

patrol duty riding together in the same vehicle. See Docket 28 at 6-7; Docket

27 at 2 (showing Officer Purcell’s first name). Officer Purcell had access to the

information Rear gave to 911 dispatch in real-time. See Docket 28 at 7-10. At

roughly 9:00 p.m., Officer VanDiepen and Officer Purcell were dispatched and

headed towards the Get-n-Go. See Docket 27 at 3; Docket 28 at 10. On the

way, Officer VanDiepen called Rear’s call-back number to find out as much

information as possible. See Docket 28 at 11-12. Rear answered. See Docket 28

at 11; see also Exhibit 2 at 0:00-2:17. 1

      During this follow-up conversation, Rear told Officer VanDiepen that he

saw a man sitting in the passenger side of a pickup, smoking a joint, and

waving a gun around. See Exhibit 2 at 0:00-0:35. Rear also reported that a

woman with long black hair had purchased some fountain drinks and returned

to the truck’s driver’s seat. See id. at 0:35-0:47. Officer VanDiepen asked Rear

how Rear knew that the man was smoking marijuana, and Rear responded



1 Exhibit 2 is Officer VanDiepen’s body camera footage, which was admitted

into evidence at the suppression hearing. See Docket 28 at 24.
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that “you could smell marijuana pretty good.” See id. at 0:47-0:57. Rear

confirmed that the man was not threatening anybody with the gun. See id. at

0:57-1:15. Additionally, Officer VanDiepen asked about the location of the

pickup truck, and Rear told him that the pickup truck came out of the Get-n-

Go parking lot and headed south. See id. at 1:20-1:40. Rear reported that he

did not know where the truck went afterwards. Id. at 1:40-1:52. According to

Rear, this phone conversation took place roughly ten minutes after Rear

initially observed the man in the truck. See id. at 1:52-2:00.

      After speaking with Rear on the phone, Officer Purcell and Officer

VanDiepen drove for approximately a minute and pulled into the Lie’brary Bar

parking lot. See id. at 2:30-2:50; Docket 28 at 26. This lot is south of the Get-

n-Go parking lot. See Docket 28 at 15. Less than a minute after pulling into the

lot, the officers found a black, Ford F-150 pickup truck with Colorado plates

backed into a parking space. See Exhibit 2 at 3:35. Officer VanDiepen turned

on the front lights of the patrol vehicle and spotted a passenger that appeared

to match Rear’s description of the individual Rear saw waving a gun in the air

while smoking a joint. See Docket 28 at 26-27.

      Moments later, Officer Purcell and Officer VanDiepen left the patrol

vehicle, approached the pickup truck, and ordered both the male passenger

(eventually identified as Ahrendt) and the female driver out of the truck. See

Exhibit 2 at 3:40-5:30. Both officers initially approached the truck with their

guns drawn and pointed downward (not at the individuals in the vehicle). See

Docket 28 at 17. The officers ordered both individuals to display their


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waistlines so that officers could see whether they were armed. See Exhibit 2 at

4:45-5:15; see also Docket 28 at 18-19. After seeing that neither had a firearm

in their waistlines, the officers then ordered Ahrendt and the female driver to

put their hands on the hood of the truck. Id. Ahrendt and the female driver

generally complied with the officers’ commands. See Exhibit 2 at 4:45-5:15;

Docket 28 at 18.

      Immediately after, the officers approached the individuals. See Exhibit 2

at 5:15-5:40. While approaching, Officer VanDiepen put his gun away, and

during the suppression hearing, assumed that Officer Purcell did as well. See

Docket 28 at 19. Officer VanDiepen then performed a pat-down of Ahrendt, and

Officer Purcell performed a pat-down of the female driver. See Exhibit 2 at

5:40-5:47. Neither Ahrendt nor the female driver had a weapon on their person.

See id. Officer VanDiepen briefly explained why he and Officer Purcell ordered

Ahrendt and the female driver out of the truck. See id. at 5:47-5:58. Ahrendt

denied waving a firearm in the truck while smoking a joint. Id. at 5:57-6:35.

Officer VanDiepen then asked Ahrendt whether there were any firearms or

marijuana in the truck. See id. In response, Ahrendt denied that there were

firearms or marijuana in the vehicle. See id. at 5:57-6:35. Ahrendt also

explained that he leaves all of his marijuana at home. See id. at 6:30. The

female driver explained that they had cigarettes in the car. Id. at 6:27. Neither

Ahrendt nor the female driver consented to officers searching the truck. See id.

at 6:03-6:35.

      Within a minute and a half from conducting the pat-down of Ahrendt,


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Officer VanDiepen asked Ahrendt for his I.D. See id. at 5:30-6:45. Ahrendt

responded that he did not have is I.D. on him and that it was “too F****** cold.”

See id. At that point, Officer VanDiepen told 2 Ahrendt that they would continue

the conversation in the back of the patrol car where there was heat. See id.

After Officer VanDiepen requested that Ahrendt get inside the back of the

patrol car, Ahrendt said he would “rather not” because “there’s nothing going

on.” See id. at 6:45-6:55. Ahrendt said that he had done nothing illegal and

asked if he was under arrest, to which Officer Purcell responded that Ahrendt

was being detained. See id. at 6:55-7:05. Ahrendt then asked if he could get his

coat from the car, and Officer VanDiepen said no. See id. at 7:00-7:09.

      During this roughly minute and a half long conversation outside, Officer

VanDiepen admitted that he did not observe any signs of Ahrendt being

intoxicated. See Docket 28 at 34-40. Similarly, Officer VanDiepen admitted

that he did not personally see Ahrendt waving a firearm or smoking marijuana.

See id. at 39-40. Officer VanDiepen further admitted that he did not smell any

marijuana when interacting with Ahrendt. See id. at 39.

      The weather outside that night was very cold, as Ahrendt and both

officers repeatedly referenced how cold it was outside. See, e.g., Exhibit 2 at

6:20 (“It’s f****** freezing, man.”); 6:43 (“It’s too F****** cold out here”); 10:52

(saying how “damn cold” it was); 11:10 (noting it is “so f****** cold”); 19:25


2 For reasons explained below, the court concludes that even though Officer

VanDiepen testified that he gave Ahrendt an option to stay outside, the
circumstances of the weather made this “option” an unreasonable one and
thus finds that Officer VanDiepen functionally ordered Ahrendt into the patrol
vehicle.
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(“We’re all cold out here”). The wind was blowing, snow covered the ground,

and people’s breaths visibly filled the air when speaking. See generally id.

      Roughly thirty seconds after Ahrendt asked whether he was being

arrested and after Officer VanDiepen refused to allow Ahrendt to grab a coat,

Ahrendt entered the back of the patrol car. See id. at 7:07-7:35. At this point,

the officers did not handcuff Ahrendt. See Docket 28 at 42. Once inside, Officer

VanDiepen turned the heat on immediately and then asked Ahrendt for his

name, making the total amount of time between Ahrendt asking if he was being

arrested and Officer VanDiepen asking for Ahrendt’s name to be roughly a

minute. See id. at 7:07-8:00. Ahrendt answered, “Nathaniel.” See id. at 7:55-

8:00. Officer VanDiepen asked for his last name, to which Ahrendt responded

with “Ahrendt.” See id. at 8:00-8:10. Officer VanDiepen then asked Ahrendt if

he was using a false name, and Ahrendt said, “No sir.” See id. at 8:15. Officer

VanDiepen asked Ahrendt to spell Nathaniel and asked Ahrendt for his social

security number. See id. at 8:15-9:00. Ahrendt spelled “Nathaniel” but stated

he did not know his social security number. See id. Realizing Ahrendt provided

a false name, Officer VanDiepen asked, “Do you want to tell me your real name,

Lucas?” Id. at 9:00-9:05. Initially, Ahrendt denied that he provided a false

name and stated that he was twins with Lucas, but admitted soon after that he

was in fact Lucas after Officer VanDiepen pointed out that Lucas and Nathaniel

had different birthdates. See id. at 9:05-9:25.

      Once Ahrendt admitted to providing a false name, (and after Officer

VanDiepen discovered Ahrendt had an outstanding warrant for his arrest)


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Officer VanDiepen formally arrested Ahrendt, placed him in handcuffs, and

searched his person. See id. at 9:30-11:24. Officer VanDiepen found a THC

vape pen in Ahrendt’s pant pocket. See Docket 28 at 21-22. During this

interaction, Officer VanDiepen did not advise Ahrendt of his Miranda rights.

See Exhibit 2 at 10:00-11:35. After discovering the THC vape pen, Officer

VanDiepen searched the pickup truck. See Docket 28 at 21-22. In the truck,

Officer VanDiepen found a nine-millimeter handgun, methamphetamine, raw

marijuana, and some pills he believed to be fentanyl. See id. at 22. Officers

found the gun on the passenger floorboard. Id.

      After finding these items, Officer VanDiepen returned to Ahrendt, and

still did not advise Ahrendt of his Miranda rights. See Exhibit 2 at 18:30-18:55.

Officer VanDiepen asked Ahrendt if he (Ahrendt) had his medical marijuana

card on him. See Exhibit 2 at 18:55. Ahrendt responded no, and that the card

is a Colorado medical card. Id. at 19:00. Officer VanDiepen followed up and

asked, “It’s a Colorado medical card?” Id. at 19:06-19:10. Seconds later, Officer

VanDiepen again asked, “Do you have any proof of that card on you, Lucas?”

Id. at 19:56. Ahrendt asked, “What?” and Officer VanDiepen repeated the

question. Id. at 19:57. Although the body camera footage does not clearly

capture Ahrendt’s response, the court infers that Ahrendt responded no,

because Officer VanDiepen immediately followed-up in saying, “Kay. Nothing in

the truck either?” Id. at 20:05. Ahrendt’s response is again difficult to hear, but

based on context, the court finds that Ahrendt said no. See id. at 20:05-20:30.




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                                  DISCUSSION

      Ahrent makes three primary objections to the Report and

Recommendation. First, Ahrendt objects to the Report and Recommendation’s

conclusion that officers had reasonable suspicion for the initial encounter and

pat-down of Ahrendt. See Docket 34 at 1-3. Second, Ahrendt argues that even

if officers initially had reasonable suspicion, such reasonable suspicion

dissipated by the time Ahrendt gave Officer VanDiepen a false name. See id. at

3-4. And third, Ahrendt argues that the officers did not simply perform a Terry

stop, but instead engaged in a de facto arrest of Ahrendt, for which the officers

needed probable cause rather than just reasonable suspicion. See id. at 4-5.

The court addresses Ahrendt’s objections in turn. The Government also objects

to the Report and Recommendation’s recommendation that Ahrendt’s pre-

arrest statements be suppressed. Docket 37.

I.    Ahrendt’s First Objection: Reasonable Suspicion for Initial
      Encounter and Pat-down

      “[O]fficers may conduct brief investigatory stops of individuals if they

have a reasonable articulable suspicion of criminal activity.” United States v.

Griffith, 533 F.3d 979, 983-84 (8th Cir. 2008). “An officer’s suspicion is

reasonable if he ‘knows particularized, objective facts that lead to a rational

inference that a crime is being or has been committed.’ ” United States v.

Gannon, 531 F.3d 657, 661 (8th Cir. 2008) (quoting United States v.

Hernandez-Hernandez, 327 F.3d 703, 706 (8th Cir. 2003)). “Reasonable

suspicion must be supported by more than a ‘mere hunch,’ but ‘the likelihood



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 of criminal activity need not rise to the level required for probable cause, and it

 falls considerably short of satisfying the preponderance of the evidence

 standard.’ ” United States v. Roberts, 787 F.3d 1204, 1209 (8th Cir. 2015)

 (quoting United States v. Arvizu, 534 U.S. 266, 274 (2002))). Indeed, reasonable

 suspicion requires only “some minimal level of objective justification[,]” INS v.

 Delgado, 466 U.S. 210, 217 (1984), and must be evaluated looking to the

 totality of the circumstances, see United States v. Sanchez, 955 F.3d 669, 675

 (8th Cir. 2020). “A determination that reasonable suspicion exists, however,

 need not rule out the possibility of innocent conduct.” Arvizu, 534 U.S. at 277.

       Reasonable suspicion may be based, in part, on a tip. See United States

 v. Mosely, 878 F.3d 246, 252-53 (8th Cir. 2017). The key inquiry is the content

 of the tip and the degree of the tip’s reliability. Alabama v. White, 496 U.S. 325,

 330 (1990). The Supreme Court in Navarette v. California, 572 U.S. 393, 397-

 401 (2014) discussed that an eye-witness who makes an anonymous,

 contemporaneous report and who is subject to being held accountable for

 making a false report may be sufficient to provide reasonable suspicion.

       Starting with whether the content of the tip was sufficient for officers to

 reasonably suspect Ahrendt had committed a crime, Rear reported seeing a

 man wave a firearm while smoking a joint. Docket 27 at 1. Contrary to

 Ahrendt’s argument that Rear’s observations were “legal in and of themselves,”

 the content of Rear’s tip gave offices reasonable suspicion that the individual

 was violating SDCL § 22-14-7, which makes it illegal to “hav[e] in personal




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 possession a loaded firearm while intoxicated[.]” 3 SDCL § 22-14-7; see also

 State v. Williams, 947 N.W.2d 612, 617 n.3 (noting that SDCL § 22-14-7 is a

 class 1 misdemeanor). It is reasonable to suspect that an individual smoking a

 joint is intoxicated, and it is axiomatic that an individual waving a gun around

 is in possession of the gun. Although Rear reported that he did not see the

 male pointing a gun at anyone or threatening anyone, SDCL § 22-14-7 does not

 require such action and instead criminalizes merely possessing a firearm while

 intoxicated. Thus, the contents of the tip were sufficient to provide reasonable

 suspicion that Ahrendt committed a crime.

       Turning to the reliability of Rear’s tip, the court finds that Rear’s tip was

 sufficiently reliable for multiple reasons. First, Rear initially made the 911 call

 and reported the incident from his direct observations in real time. See Docket

 27 at 1-2. Second, Rear identified himself and left his call back number.

 Indeed, Rear answered Officer VanDiepen’s follow-up call, and provided

 substantially the same information that he had already provided to 911

 dispatch. See Exhibit 2 at 0:00-2:00. Third, the officers corroborated much of

 the information Rear provided. Rear reported that he had seen a male sitting in

 the passenger seat of a black Ford F-150 with Colorado license plates, that

 there was a female sitting in the driver’s seat of the pickup truck, and that he

 made these observations from a Get-n-Go on the corner of 57th and Marion.



 3 SDCL § 22-1-2 defines “intoxication,” in relevant part, as “a disturbance of

 mental or physical capacities resulting from the introduction of substances into
 the body.”

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 See id; Docket 27 at 1-2. Minutes later, officers found a black, Ford F-150

 pickup truck with Colorado plates, with a passenger and driver that matched

 Rear’s description, in the parking lot of Lie’brary Bar (which is to the south of

 Get-n-Go, the direction Rear reported that the truck drove from the gas

 station). Exhibit 2 at 3:35; Docket 28 at 15, 26-27.

       Ahrendt acknowledges that many of the details Rear provided were

 accurate, but nevertheless argues that Rear’s tip was not reliable specifically

 with regards to reporting reliable illegal behavior. See Docket 34 at 1-2. In

 support, Ahrendt argues that the tipster could have been wrong about the

 smell of marijuana, the source of the smell, and whether Ahrendt possessed a

 real or fake gun. See id. Specifically, Ahrendt pointed out during the

 suppression hearing that Officer VanDiepen did not ask Rear how far away

 Rear was from Ahrendt when Rear allegedly smelled marijuana and whether

 Rear had any special training on detecting marijuana. See Docket 28 at 30-31.

 Furthermore, Officer VanDiepen admitted that Rear indicated he was at a

 public gas station where the wind was blowing. See id. at 37.

       It is true that Ahrendt could have been engaged in completely innocent

 conduct, such as smoking a cigarette while waving a fake gun. But “[a]

 determination that reasonable suspicion exists, however, need not rule out the

 possibility of innocent conduct.” Arvizu, 534 U.S. at 277. Here, based on the

 reliability of Rear’s tip, on the other corroborating information (the make,

 model, and color of the car, the physical descriptions of the passenger and

 driver, and the location of the truck), as well as the fact that Rear’s tip was


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 based on personal observations, not anonymous, and subject to accountability,

 officers were entitled to reasonably suspect that the individual Rear spotted

 possessed a gun while intoxicated. Rear specifically told Officer VanDiepen that

 he could smell the marijuana. See Exhibit 2 at 0:47-0:57. While these facts

 may very well be insufficient to establish probable cause, reasonable suspicion

 is a lower standard. See Roberts, 787 F.3d at 1209. The court finds that based

 on the totality of circumstances—namely Rear’s tip and the officers’

 corroboration of much of the information provided by Rear—officers had a

 sufficient “minimal level of objective justification” to approach Ahrendt. See INS

 v. Delgado, 466 U.S. at 217; Sanchez, 955 F.3d at 674.

       For virtually the same reasons, the court finds the officers had

 reasonable suspicion to suspect that Ahrendt was armed and dangerous,

 because it is reasonable that an intoxicated person with a firearm is

 dangerous. See United States v. Trogdon, 789 F.3d 907, 910 (8th Cir. 2015); Cf.

 United States v. Robinson, 670 F.3d 874, 877 (8th Cir. 2012) (approving of

 officers handcuffing suspect during investigatory stop when suspect potentially

 possessed a firearm while intoxicated or hostile because such handcuffing was

 reasonably necessary to secure officer security). Thus, the court finds that

 officers permissibly engaged in a Terry pat-down of Ahrendt. 4 The court

 overrules Ahrendt’s first objection.



 4 The court notes that officers engaged in a Terry pat-down of the female driver.

 It is a much closer call regarding the permissibility of her pat-down, but the
 court need not decide this issue because the female driver is not the one before
 the court and Ahrendt has no standing to challenge her search.
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 II.   Ahrendt’s Second Objection: After Pat-Down and Before Formal
       Arrest

       Ahrendt next objects to the Report and Recommendation’s conclusion

 that officers were justified in continuing to detain Ahrendt after conducting an

 initial pat-down and not seeing any noticeable signs of intoxication. See Docket

 34 at 3-4.

       To determine whether officers justifiably prolonged an encounter, the

 court must determine whether officers seized an individual “beyond the time

 reasonably required to complete the mission” of the original justification of the

 encounter. Rodriguez v. United States, 575 U.S. 348, 354 (2015) (cleaned up

 and quoting Illinois v. Caballes, 543 U.S. 405, 407 (2005)). Specifically, if the

 encounter “ ‘exceeds the time needed to handle the matter for which the

 [encounter] was made,’ the duration of the [encounter] violates the Fourth

 Amendment.” United States v. Merrett, 8 F.4th 743, 751 (8th Cir. 2021) (quoting

 Mosley, 878 F.3d at 253).

       In Rodriguez, the Supreme Court decided whether officers unreasonably

 prolonged an ordinary traffic stop by waiting for a drug-sniffing dog to arrive on

 scene after officers were done with the initial traffic stop. See Rodriguez, 575

 U.S. at 350. There, the officers permissibly stopped the vehicle because the

 suspect drove on the shoulder of a state highway for one or two seconds, in

 violation of state law. See id. at 351. After identifying the driver and passenger,

 issuing a traffic citation, explaining the citation, and handing back all of the

 identifying documents to the driver, the officer instructed the driver to stay in



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 order to allow time for dogs to circle the car. See id. at 352. After deploying the

 dogs, officers eventually found a significant amount of methamphetamine. Id.

       The Supreme Court held that the officer violated the defendant’s Fourth

 Amendment rights because the officers prolonged the traffic stop beyond the

 stop’s mission. See id. at 355-56. Specifically, the court held that the officer

 completed his mission of effectuating the traffic stop, and that deploying the

 dogs to sniff the car was unrelated to such mission. Id. Because an officer may

 not conduct unrelated inquiries beyond the original scope of the mission “in a

 way that prolongs the [seizure], absent the reasonable suspicion ordinarily

 demanded to justifying detaining an individual[,]” the officer’s deployment of

 the dogs violated the Fourth Amendment. See id. at 355.

       The Government argued that so long as officers remained diligent in

 pursuing the original mission of the stop, and so long as the duration of the

 prolonged stop remained reasonable in relation to the duration of other stops

 involving similar circumstances, such prolongment was not unreasonable. See

 id. at 357. The Court rejected this argument, reasoning that it, “in effect,” gave

 officers the ability to “earn bonus time to pursue an unrelated criminal

 investigation” so long as they complete the mission expeditiously. Id. Rather,

 the Court framed the “critical question” to be whether conducting an activity

 beyond the original mission “ ‘prolongs’—i.e., adds time to—‘the [mission[.]’ ” Id.

       Under Rodriguez, the relatively short amount of time between Officer

 VanDiepen’s initial pat-down of Ahrendt and Ahrendt eventually giving a false

 name to police, does not alone avoid a Fourth Amendment violation. See id. at


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 357. Instead, the issue here is the proper characterization of Officer

 VanDiepen’s “mission,” and whether the officers were still engaged in the

 permissible mission when officers continued to talk with Ahrendt after

 conducting an initial pat-down. See id. at 354; see also Florida v. Royer, 460

 U.S. 491, 500 (1983) (“The scope of the detention must be carefully tailored to

 its underlying justification.”).

       Here, the officers’ mission was to investigate whether Ahrendt was

 currently possessing a firearm while intoxicated (or whether Ahrendt possessed

 a firearm while intoxicated in the recent past). As part of that mission, officers

 may have a general conversation with Ahrendt to assess whether he was in fact

 intoxicated. See United States v. Hurtt, 31 F.4th 152, 161 (10th Cir. 2022)

 (holding an officer may have a general conversation with a suspected

 intoxicated driver “to determine whether the driver was confused, disoriented,

 or otherwise cognitively impaired”). Furthermore, an officer’s reasonable

 suspicion that an individual committed a crime independently allows an officer

 to attempt to identify the suspect. See Pace v. City of Des Moines, 201 F.3d

 1050, 1054 (8th Cir. 2000) (“We recognize that an officer who has a reasonable

 suspicion that crime is afoot, but not probable cause to arrest a person, may

 conduct an investigative stop, and that this may include questioning and other

 efforts to identify the person in question.”). Officer VanDiepen’s interactions

 with Ahrendt after (and while) performing a pat-down were related in scope to

 his mission because Officer VanDiepen only asked Ahrendt whether Ahrendt

 had a firearm, whether Ahrendt was smoking marijuana, and questions related


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 to ascertaining Ahrendt’s identity. See Exhibit 2 at 5:22-9:30. Thus, the stop

 was not prolonged under Rodriguez.

       Ahrendt argues that even if officers initially had reasonable suspicion to

 approach him and to conduct a pat-down, officers impermissibly prolonged the

 encounter because they no longer possessed reasonable suspicion that Ahrendt

 was intoxicated. See Docket 34 at 3-4. In support, Ahrendt (correctly) notes

 that Officer VanDiepen admitted that during this pat-down, Officer VanDiepen

 observed no obvious signs of Ahrendt being intoxicated. See id. at 3. For

 example, Officer VanDiepen admitted that Ahrendt did not stumble or fall when

 exiting the truck, walked normally, complied with Officer VanDiepen’s

 commands, did not slur his speech, and did not show any other signs of

 intoxication. See Docket 28 at 34-36, 38-40. Similarly, Officer VanDiepen

 admitted that he did not smell any marijuana from either Ahrendt or the

 vehicle. Id. at 37. The female driver and Ahrendt both denied having marijuana,

 and the female driver instead explained that they had cigarettes in the car. See

 Exhibit 2 at 6:27. Because “an investigative stop must cease once reasonable

 suspicion . . . dissipates[,]” United States v. Mosley, 878 F.3d 246, 253 (8th Cir.

 2017) (quoting United States v. Watts, 7 F.3d 122, 126 (8th Cir. 1993)), Ahrendt

 argues that the Fourth Amendment required officers to cease talking to

 Ahrendt after finding no corroborating evidence that Ahrendt was intoxicated.

 Docket 34 at 3-4.

       But even though officers did not observe any corroborating evidence of

 Ahrendt’s intoxication (and indeed even some evidence suggesting the


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 opposite), 5 the officers’ brief interaction with Ahrendt during the pat-down and

 prior to Ahrendt lying about his name was insufficient to dissipate the officers’

 reasonable suspicion that he was intoxicated. The Supreme Court’s decision in

 Navarette illustrates why that is so. In Navarette, officers received a tip from a

 driver who reported that a truck (which officers later discovered was driven by

 the defendant) had run the driver off the road. See 572 U.S. at 395. After

 hearing this report, an officer spotted the defendant’s truck driving on the

 highway, followed it for five minutes, and pulled the defendant over. Id. While

 following the defendant, the officer observed no evidence that the defendant

 was intoxicated. Id. at 403. Nevertheless, the Court explained that the officer

 had reasonable suspicion to believe the defendant was driving while

 intoxicated. See id. at 403-04.

       Crucially, the defendant argued that although the officer may have had

 reasonable suspicion to pull over the defendant immediately, such reasonable

 suspicion dissipated after the officer followed the defendant without seeing any

 additional signs of intoxication. See id. at 403. The Court explicitly rejected this

 argument, reasoning that “[i]t is hardly surprising that the appearance of a


 5 The Report and Recommendation opines that Ahrendt showed potential signs

 of intoxication during this encounter. See Docket 30 at 25. According to the
 Report and Recommendation, Ahrendt failed to exit the truck until officers gave
 him a third command to do so, disobeyed officers’ repeated instructions to keep
 his hands raised, and “danced a little jig, waggling his butt at the officers”
 when asked to show his waistband. See id. Thus, the Report and
 Recommendation reasoned that “[a] reasonable officer could view this series of
 actions by Mr. Ahrendt as signs of intoxication.” Id. The court need not discuss
 this contention’s merits because it is unnecessary to resolve Ahrendt’s motion
 or his objections. Thus, the court does not adopt this specific discussion.

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 marked police car would inspire more careful driving for a time.” Id. Although

 the Court recognized that “[e]xtended observation of an allegedly drunk driver

 might eventually dispel a reasonable suspicion of intoxication,” the five-minute

 period in that case “hardly sufficed.” Id. at 403-04.

       Navarette’s teachings control this case. The court acknowledges that

 Ahrendt did not show any obvious signs of intoxication when officers

 approached him, had a brief conversation with him, and patted him down. But

 the absence of additional evidence of Ahrendt’s intoxication—in this brief, less

 than two-minute interaction—did not dissipate the officer’s reasonable

 suspicion that Ahrendt had possessed a gun while intoxicated. See id.;

 Amundsen v. Jones, 533 F.3d 1192, 1200 (10th Cir. 2008) (holding that officers

 with initial reasonable suspicion of DUI could perform entire standard roadside

 sobriety tests to confirm or dispel reasonable suspicion of intoxication even

 though driver showed no additional signs of intoxication once officers began

 interacting with driver). Just like the defendant in Navarette, Ahrendt knew

 that officers were observing him and this knowledge could “inspire” more

 careful movements to avoid detection. See Navarette, 572 U.S. at 403.

       Importantly, this case does not involve an officer’s extended observations

 of Ahrendt, such as one where the officer had an up-close, intelligent

 conversation lasting ten minutes, in which Ahrendt showed no signs of

 intoxication. See Navarette, 572 U.S. at 403. Nor does it involve a situation in

 which Ahrendt passed a standardized field sobriety test or took a breathalyzer

 test indicating that Ahrendt had no marijuana (or other intoxicant) in his


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 system. See Kansas v. Glover, 140 S.Ct.1183, 1191 (2020) (“[T]he presence of

 additional facts might dispel reasonable suspicion.”); Haynes v. Minnehan, 14

 F.4th 830, 836 (8th Cir. 2021) (“But as new information flows in, a reasonable

 belief can dissolve into an unreasonable one.”). The court further stresses that

 an officer’s reasonable suspicion of a suspect’s initial intoxication does not

 license an officer to speak with such suspect for an endless amount of time.

 But here, because Officer Vandiepen’s interactions with Ahrendt were very

 limited (only two minutes at most), such interaction would not dissipate an

 officer’s original reasonable suspicion that Ahrendt possessed a gun while

 intoxicated. The court concludes it was reasonable for Officer VanDiepen to

 continue the conversation. Thus, the court overrules Ahrendt’s second

 objection that the officers unnecessarily prolonged the detention.

 III.   Ahrendt’s Third Objection: De Facto Arrest

        Ahrendt next argues that the officers did not simply engage in a Terry

 stop, but rather engaged in a de facto arrest, such that officers needed

 probable cause (and not merely reasonable suspicion) to investigate him. See

 Docket 34 at 3-5. Ahrendt specifically argues that the manner in which the

 officers initially approached him (by walking towards the truck with their guns

 out), their tone, and the fact that there were two of them all indicate the officers

 subjected Ahrendt to an arrest rather than an investigatory Terry stop. See id.

        Distinguishing between whether an officer has detained an individual

 versus arrested an individual matters, because “[a]n arrest is valid only if there

 is a probable cause to believe that a suspect has committed or is about to


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 commit a crime, whereas a brief, investigatory detention can be based on only a

 reasonable suspicion that criminal activity is afoot.” Chestnut v. Wallace, 947

 F.3d 1085, 1088 (8th Cir. 2020). “A Terry stop may become an arrest . . . if the

 stop lasts for an unreasonably long time or if officers use unreasonable force.”

 United States v. Smith, 648 F.3d 654, 659 (8th Cir. 2011) (quoting United States

 v. Newell, 596 F.3d 876, 879 (8th Cir. 2010)) (cleaned up). “As part of a lawful

 Terry stop, officers may take any measures that are reasonably necessary to

 protect their personal safety and to maintain the status quo during the course

 of the stop.” Id. (quoting Newell, 596 F.3d at 879) (cleaned up).

       To determine whether an investigatory arrest has turned into an arrest,

 the court looks to five principle factors:

       (1) the number of officers and police cars involved; (2) the nature of
       the crime and whether there is reason to believe the suspect might
       be armed; (3) the strength of the officers’ articulable, objective
       suspicions; (4) the erratic behavior of or suspicious movements by
       the persons under observation; and (5) the need for immediate
       action by the officers and lack of opportunity for them to have made
       the stop in less threatening circumstances.

 United States v. Childers, 73 F.4th 960, 963 (8th Cir. 2023) (quoting United

 States v. Johnson, 31 F.4th 618, 623 (8th Cir. 2022)).

       In Childers, the Eighth Circuit applied this test and found the officers

 only detained the suspect, rather than arrested him. See id. at 963-65. There,

 police received a 911 call that reported three individuals shooting guns into a

 river. See id. at 962. Roughly seven officers were dispatched to investigate a

 potential violation of state law (reckless discharge of a firearm within a

 municipality) and noticed three individuals matching the description given in


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 the 911 call. See id. at 962, 964. The three individuals eventually entered a car,

 and the officers approached the car with their guns drawn and ordered the

 individuals out one by one. See id. at 962. Officers handcuffed all three

 individuals and placed them in the back of separate patrol cars. See id. at 963.

       Applying the first and second factors, Childers found that they weighed

 in favor of the Government. Id. at 964. First, the number of officers (seven) was

 not excessive given there were three suspects. Id. Second, “the nature of the

 suspected crime elevated police concerns for the safety of the public and

 themselves” because officers reasonably believed the suspects were armed and

 had recently fired a firearm. Id.

       The third factor also favored the Government, because the officers had

 responded to a 911 call from an identified witness who described the

 individuals “with a reasonable degree of particularity.” Id. Specifically, the

 witness described the suspects’ races, one of the suspect’s clothing, and one of

 the suspect’s age. See id. Additionally, the caller correctly identified that the

 individuals were in a public park. See id.

       Regarding the fourth factor, the court found that it did not meaningfully

 alter the calculus because the defendant complied with the officers commands,

 even after initially talking back to the officers. See id. The court further

 reasoned that because the officers could not observe the vehicle’s occupants, it

 was reasonable to direct them outside of the vehicle and separate them. See id.

       The fifth factor favored the Government, because the officers observed

 the three individuals enter a vehicle, and thus officers had to stop it to prevent


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 them from leaving the parking lot. See id. The “obvious exigencies” of the

 situation justified the individuals’ detention in the back of the patrol cars “until

 the situation stabilized and [the officers] could determine if full custodial arrest

 and detention were warranted.” See id. (quoting United States v. Martinez, 462

 F.3d 903, 908 (8th Cir. 2006)).

       Although Childers differs in some ways from the instant case, they have

 some similarities. Like in Childers, the first and second factors here weigh in

 favor of the Government. There were only two officers on scene approaching

 two potential suspects, thus the ratio between the number of officers and

 suspects is less than the ratio in Childers. See Docket 28 at 6, 11, 15-16;

 Childers, 73 F.4th at 964 (7 officers to 3 suspects). Furthermore, officers in

 both situations approached suspects that officers reasonably believed were

 armed because officers in both cases received reliable tips about seeing a

 firearm. See Docket 28 at 11; Childers, 73 F.4th at 964.

       Although it is true that the officers in Childers knew more concerning

 information about the suspects (that they had shot the guns into a river)

 compared to what the officers here knew about Ahrendt (that he simply waved

 a gun in the air while smoking a joint), the fact that officers reasonably believed

 Ahrendt had a firearm while possibly intoxicated is sufficient for both Officer

 VanDiepen and Officer Purcell to approach Ahrendt with their weapons drawn.

 See Johnson, 31 F.4th at 623 (concluding officers justifiably drew weapons

 based on their knowledge of defendant’s previous history of violent felony

 convictions and knowledge that defendant had a firearm on his person); United


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 States v. Fisher, 364 F.3d 970, 973-74 (8th Cir. 2004) (holding officers

 permissibly drew weapons on compliant defendant because officers reasonably

 believed suspect was armed and dangerous); United States v. Ramires, 307

 F.3d 713, 716 (8th Cir. 2002) (finding officers permissibly drew guns on

 individuals suspected of drug trafficking while such individuals left a crawl

 space).

       Ahrendt distinguishes this case from Johnson. Docket 34 at 4-5. In

 Johnson, the arresting officers knew that the defendant had previous violent

 felony convictions, that the defendant was a person of interest in a homicide

 investigation, and that the defendant had just tried to flee in a car moments

 earlier. See Johnson, 31 F.4th at 621. Thus, even though Johnson declared that

 “[i]t is well established that officers may reasonably draw weapons during a

 Terry stop when the defendant is suspected of carrying a weapon[,]” id. at 623,

 Ahrendt argues this case does not match the facts in Johnson because Officer

 VanDiepen and Officer Purcell “had no knowledge of Mr. Ahrendt at all, nor

 had Mr. Ahrendt given police cause to believe he would not cooperate with

 regular force.” See Docket 34 at 4-5.

       Ahrendt further bolsters his argument by arguing that Johnson’s rule

 relies on Fisher, which is distinguishable from the facts of this case. See id. at

 5. Specifically, Ahrendt argues that unlike in Fisher, where the officer had

 specific information that an individual matching the defendant’s description

 had used a gun in connection with an assault only minutes earlier and was in

 a high crime neighborhood, Officer VanDiepen did not have any information of


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 Ahrendt using a gun and Ahrendt was not parked in a high crime area. See id.

 (citing Fisher, 364 F.3d at 973-74).

       Although the court agrees that both Johnson and Fisher have

 distinguishing features, the analysis does not draw a bright-line rule requiring

 officers to know that a suspect had used a gun, had a violent criminal past,

 “had been” or “was” suspected of homicide, had fled, or was in a high crime

 area, in order to justify approaching such suspect with weapons drawn. Cf.

 United States v. Gastelum, 11 F.4th 898, 905 (8th Cir. 2021) (noting the

 Supreme Court “has cautioned against creating per se rules in the Fourth

 Amendment context when the proper inquiry is consideration of the totality of

 the circumstances”). Indeed, the Eighth Circuit’s decision in United States v.

 Navarrete-Barron, 192 F.3d 786, 791 (8th Cir. 1999) rejects this suggestion.

 There, the court found that officers reasonably drew their weapons when

 approaching the defendant’s truck because the officers reasonably believed the

 occupants of a truck were engaged in drug trafficking and the officers had

 previously found ammunition linked with the truck. See id.

       The officers in Navarrete-Barron arguably had less justification to

 approach the defendant with a drawn firearm than here, because there, the

 officers did not have any information that the suspects actually had a gun,

 much less that the suspect was potentially intoxicated while possessing a gun.

 See id. Instead, the Eighth Circuit in Navarrete-Barron held it was reasonable

 for officers to believe the suspect had a gun solely because the officers saw

 ammunition connected to the truck and because the officers believed the truck


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 was linked with drug trafficking, which “very often is accompanied by

 dangerous weapons.” Id. At the very least, the facts in the instant case

 presented officers with just as much reason to be nervous, if not more, than

 the situation in Navarrete-Barron: the officers in this case had a credible tip

 that Ahrendt had been waving a gun while smoking a joint. It is reasonable for

 officers to be worried about an accidental (or even intentional) discharge. The

 court finds Officer Purcell and Officer VanDiepen reasonably drew their guns

 when approaching the pickup truck. And notably, the officers did not point

 their guns at Ahrendt or the passenger, but rather pointed the guns to the

 ground, meaning that the potential for unintentional harm was reduced. See

 Docket 28 at 17. The second factor favors the Government.

       The third factor also favors the Government. As discussed above, the

 reporting party’s tip was reliable in numerous ways: the reporting party was

 not anonymous (and indeed, answered a follow-up call from Officer

 VanDiepen), and he reported the tip in real time. See supra, at 11-13.

 Additionally, the reporting party accurately described the truck’s color, make,

 and model, he accurately stated the truck had a Colorado license plate, he

 accurately described that the defendant was sitting in the passenger side of the

 truck, and he accurately described that the driver was a female with long hair.

 See supra, at 11-13. Although there is no evidence in the record that either

 Officer VanDiepen or Officer Purcell saw Ahrendt or the female driver holding a

 weapon when they approached the pickup truck, the officers reasonably

 believed that the reporting party’s account that the male passenger did in fact


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 have a firearm was accurate given the accuracy of his other statements.

       Similar to Childers, the fourth factor does not really impact the analysis.

 Here, the officers drew their guns before they saw whether Ahrendt or the

 female driver made any sudden movements, and thus neither Ahrendt’s nor the

 driver’s actions provided any additional reason for the officers to draw their

 weapons. This fact tilts in favor of Ahrendt. At the same time, once Ahrendt

 and the passenger proved that they were not armed by lifting their shirt to

 show their waistband, and once their hands were clearly visible and empty,

 Officer VanDiepen put his gun away (and believed Officer Purcell did the same).

 See Docket 28 at 18-19. Thus, the officers’ initial display of weapons was

 reasonably tailored and did not exceed the permissible scope once officers

 realized that there was no immediate threat of Ahrendt or the driver using a

 firearm. See United States v. Sanford, 813 F.3d 708, 714 (8th Cir. 2016) (noting

 the Fourth Amendment’s requirement that officers use the least intrusive

 means of detention and investigation that are reasonably necessary to achieve

 the purpose of the Terry stop).

       Turning to the fifth factor, the court finds that it weighs slightly in favor

 of the Government. On one hand, the court acknowledges that the immediacy

 of the situation in this case is less than that in Childers because the officers in

 Childers had information that the suspects had actually fired the gun. See

 Childers, 73 F.4th at 964. But like in Childers, the officers had information that

 the suspects were armed, and both suspects were in vehicles, meaning that the

 suspects could easily escape. See id. (noting that the vehicle was “about to


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 leave the parking lot”). Relatedly, the pickup truck was parked with its

 frontside facing forward (towards the direction the vehicle

 would have to go in order to leave), meaning the truck was readily positioned to

 leave in an instant. See Exhibit 2 at 3:41. Furthermore, unlike in Childers

 where the interaction occurred in an isolated park with no one around, the

 interaction here took place in a parking lot of an open restaurant at roughly

 9:07 p.m. See Childers, 73 F.4th at 964; Docket 28 at 15; Exhibit 2 at 6:05-12.

 The increased number of people around the area—including members of the

 public—heightens the immediacy and need to deal with the potential threat of

 an intoxicated individual waving a gun around. Thus, it was reasonable for

 officers to proceed with caution by drawing their guns while approaching the

 truck.

          To be sure, it is theoretically possible that the officers could have

 approached the truck in a less threatening way, such as approaching with a

 taser or approaching with their hands on their gun (but without their guns

 drawn). But “[t]he question is not simply whether some other alternative was

 available, but whether the police acted unreasonably in failing to recognize or

 to pursue it.” United States v. Sharpe, 470 U.S. 675, 687 (1985). The court

 finds the officers were not unreasonable in not identifying a less restrictive

 approach. Simply put, the Fourth Amendment does not require officers to bring

 a knife (either literally or metaphorically) to a potential gun fight.

          The court also notes that Ahrendt argues that the officers “bark[ed]

 orders” towards Ahrendt and the driver, and that this “barking” weighs in favor


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 of finding the officers made a de facto arrest. See Docket 34 at 4. The court

 need not decide whether an officers’ aggressive tone of voice is relevant towards

 this inquiry, because here, the court finds the tone of voice was justified for two

 reasons. First, it was justified for Officer VanDiepen to make his commands

 with assertiveness given that he reasonably believed Ahrendt or the driver was

 armed. And second, based on the court’s review of Officer VanDiepen’s body

 camera footage, the wind and nearby road made the surrounding area loud,

 and thus it would be difficult for the occupants of the truck to hear him,

 especially because the truck’s windows were rolled up. See generally Exhibit 2

 at 3:30-4:50. Thus, Officer VanDiepen reasonably spoke loudly in order to be

 heard.

       Finally, the court also addresses the fact that the officers took Ahrendt

 and the driver into the back of the police car. In Childers, the Eighth Circuit

 observed that “placing suspects in squad cars does not transform a stop into

 an arrest where the situation warrants the action.” Childers, 73 F.4th at 964.

 Contrary to Officer VanDiepen’s testimony during the suppression hearing,

 Ahrendt had no reasonable choice other than to go in the back of the patrol

 car. See Docket 28 at 41-42. Although Officer VanDiepen testified that Ahrendt

 was “free to stand outside with [an] officer in the cold if he so chose[,]” the

 court finds this suggestion to be uncredible and unrealistic. See id. During

 Officer VanDiepen’s interaction with Ahrendt, Officer VanDiepen specifically

 rejected Ahrendt’s request to grab a coat. See Exhibit 2 at 7:00-7:09. And

 Ahrendt asked to grab his coat for a reason: after reviewing Officer VanDiepen’s


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 body camera footage, the court can clearly see that the weather was extremely

 cold, with the wind blowing. As the individuals are speaking, their breath can

 be seen in the air. See, e.g., id. at 5:40. Throughout this limited interaction,

 Ahrendt, Officer VanDiepen, and Officer Purcell repeatedly referenced just how

 cold it was that night. See, e.g., id. at 6:20; (“It’s f****** freezing, man.”); id. at

 6:43 (“It’s too F****** cold out here”); id. at 10:52 (saying how “damn cold” it

 was); 11:10 (noting it is “so f****** cold”); 19:25 (“We’re all cold out here”). And,

 as Ahrendt’s request suggests, Ahrendt was not wearing a coat, and instead

 was only wearing a short-sleeved sweater. See generally Exhibit 2. Thus, by

 denying Ahrendt’s request to grab a coat while simultaneously insisting that

 Ahrendt continue to speak with officers, Officer VanDiepen functionally

 required Ahrendt to get into the back of the patrol car because standing in the

 cold for even a few more minutes could have resulted in serious health

 complications for Ahrendt.

       But Officer VanDiepen’s decision to move the conversation in the patrol

 car (with the heat turned up) was reasonable given this extreme weather. In

 fact, had Officer VanDiepen insisted in continuing the conversation outside,

 such insistence may very well have been unreasonable. The extreme weather in

 this case warranted Ahrendt’s placement in the back of the patrol car, and

 under Childers, such placement does not transform the detention into an

 arrest. See Childers, 73 F.4th at 964.

       In short, the officers’ actions were justified and limited in scope to protect

 themselves, Ahrendt and the driver, and the public at large. The court


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 overrules Ahrendt’s third objection that the officers engaged in a de facto arrest

 requiring probable cause and finds that the encounter remained a detention.

 IV.     Arrest and Subsequent Discoveries

         Ahrendt does not object to the Report and Recommendation’s conclusion

 that once Ahrendt gave a false name to Officer VanDiepen, officers had

 probable cause to arrest Ahrendt, search his person, and then eventually

 search his truck. See generally Docket 34; Docket 30 at 27-32. The court

 agrees with the Report and Recommendation on this discussion and adopts it

 in full. 6

 V.      Miranda

         Ahrendt argued in his motion, but not his memorandum in support of

 his motion, that his statements to the officers should be suppressed because

 the officers failed to advise him of his Miranda rights. See Docket 21; see

 generally Docket 21-1. The Government, in turn, did not address the Miranda

 issue in its response to Magistrate Judge Duffy. See generally Docket 24. For

 its part, the Report and Recommendation acknowledges the Government’s

 failure to address the issue and suppressed Ahrendt’s pre-arrest statements.

 See Docket 30 at 33-36. The Report and Recommendation did not address

 Ahrendt’s statements in response to police questioning after arrest. See id. The

 Government filed objections to the Report and Recommendation that Ahrendt’s


 6 Like the Report and Recommendation, the court need not decide the

 Government’s alternative argument regarding the permissibility of searching
 the pickup truck under the community care taking doctrine. See Docket 24 at
 6; Docket 30 at 27 n.4. Similarly, the court need not determine whether the
 plain view doctrine applies. See Docket 30 at 32 n.5.
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 pre-arrest statements are suppressed, and Ahrendt does not object to the

 Report and Recommendation’s failure to address post-arrest statements. See

 Docket 37; see generally Docket 34.

       The court first must determine the standard of review to use when

 reviewing the Report and Recommendation. Both parties dropped the ball when

 litigating the Miranda issue. Ahrendt specifically raised an argument regarding

 an alleged Miranda violation in his motion to suppress, stating:

       Defendant asserts that . . . the interrogation that occurred while the
       defendant [w]as in custody without Miranda advisement . . . [was]
       conducted . . . in violation of his rights under the . . . Fifth[], and
       Fourteenth Amendments to the United States Constitution. Therefore,
       subsequent statements made by Defendant . . . must be suppressed.

 Docket 21. Although not a model of completeness, the court finds this

 argument, at the very least, should have prompted the Government to address

 the issue, even if just to say that Ahrendt failed to adequately brief it. But the

 Government did not. See Docket 24. After the Report and Recommendation

 addressed Ahrendt’s pre-arrest, but not post-arrest statements, Ahrendt could

 have (and should have) objected if he wanted to exclude pre-Miranda and post-

 arrest statements made in response to the officers’ interrogation. Ahrendt did

 not. See Docket 34.

       Because both parties failed to timely raise arguments in different stages

 of litigating this issue, the court exercises its discretion to review de novo the

 Miranda issue. See Thomas v. Arn, 474 U.S. 140, 154 (1985) (stating that a

 district court may consider sua sponte review of an issue in a Report and

 Recommendation de novo); Kliment v. Astrue, 710 F.Supp.2d 831, 844 (N.D.


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 Iowa 2010) (“[A] district court may review de novo any issue in a magistrate

 judge’s report and recommendation at any time.”). First, the court discusses

 the relevant applicable legal standards under Miranda. Second, the court

 addresses Ahrendt’s pre-arrest statements made to officers. And third, the

 court turns to Ahrendt’s post-arrest statements.

       A. Miranda Principles

       An officer must advise individuals of their Miranda rights when such

 individuals are subject to custodial interrogation. See United States v. Rooney,

 63 F.4th 1160, 1167 (8th Cir. 2023). “A custodial interrogation is defined as

 ‘questioning initiated by law enforcement officers after a person has been taken

 into custody or otherwise deprived of his freedom in any significant way.’ ”

 United States v. Flores-Sandoval, 474 F.3d 1142, 1146 (8th Cir. 2007) (quoting

 Maine v. Thibodeau, 475 U.S. 1144, 1146 (1986)). To determine whether an

 individual is in custody, courts look to “whether there is a formal arrest or

 restraint on freedom of movement of the degree associated with a formal

 arrest.” United States v. Treanton, 57 F.4th 638, 641 (8th Cir. 2023) (quoting

 United States v. Simpson, 44 F.4th 1093, 1096 (8th Cir. 2022)).

 An individual is subject to interrogation when there is express police

 questioning, that is “reasonably likely to elicit” incriminating information, see

 United States v. Bailey, 831 F.3d 1035, 1038 (8th Cir. 2016), or “its functional

 equivalent, which includes ‘any words or actions on the part of the police (other

 than those normally attendant to arrest and custody) that the police should

 know are reasonably likely to elicit an incriminating response from the


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 suspect,’ ” United States v. Hernandez-Mendoza, 600 F.3d 971, 976-77 (8th Cir.

 2010) (quoting Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980)).

 “Interrogation does not include ‘requests for routine information necessary for

 basic identification purposes.’ ” United States v. Cowan, 674 F.3d 947, 958 (8th

 Cir. 2012) (quoting United States v. Brown, 101 F.3d 1272, 1274 (8th Cir.

 1996)). Similarly, “a suspect’s answers to questions from a police officer are

 admissible in the absence of a Miranda warning so long as the questions asked

 of the suspect are ‘reasonably prompted by a concern for the public safety.’ ”

 United States v. Brooks, 982 F.3d 1177, 1180 (8th Cir. 2020) (quoting United

 States v. Williams, 181 F.3d 945, 953 (8th Cir. 1999)).

       B. Pre-Arrest Statements

       The court turns to Ahrendt’s statements made before Officer VanDiepen

 arrested him, which includes Ahrendt’s statements to the officers while Officer

 VanDiepen and Officer Purcell questioned Ahrendt outside and in the back of

 the patrol car prior to Officer VanDiepen formally arresting Ahrendt. The record

 conclusively shows that Officers never advised Ahrendt of the Miranda

 warnings, and thus the issue here is whether such failure makes his

 statements inadmissible. See generally Exhibit 2. Here, even if Ahrendt was in

 custody when talking to officers outside and in the back of the patrol car prior

 to arrest, the court finds that none of Ahrendt’s statements are suppressible

 under Miranda because they fall under the public safety exception,

 identification exception, or they were not the subject of interrogation. For the

 public safety exception, Officer VanDiepen asked Ahrendt whether there were


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 any firearms or marijuana in the vehicle. See Exhibit 2 at 6:10-35. These

 questions were reasonably prompted by concern for public safety because it is

 reasonable for an officer to be concerned about whether Ahrendt had access to

 an intoxicating substance and a firearm. Thus, Ahrendt’s response of “no” to

 the question of whether there were firearms in the truck and “no” to whether

 there was marijuana in the truck (but Ahrendt’s admission that he leaves his

 marijuana at home) is not suppressed. See Brooks, 982 F.3d at 1180. With

 respect to the identification exception, all of the questions Officer VanDiepen

 asked Ahrendt while Ahrendt was in the back of the patrol car, prior to

 Ahrendt’s arrest, related to identifying Ahrendt. See Exhibit 2 at 7:45-10:15.

 Thus, Ahrendt’s responses to these questions are not suppressible. See Cowan,

 674 F.3d at 958.

       Finally, while standing outside, Ahrendt stated that “there was nothing

 going on,” and that he hadn’t done anything illegal, but Ahrendt did not make

 this statement in response to any question asked by an officer. See Exhibit 2 at

 6:45-7:05. Rather, Ahrendt made this statement after Officer VanDiepen told

 Ahrendt, “I gotta figure out what’s going on here.” See id. This statement is not

 functionally equivalent to interrogation because an officer would not

 reasonably expect such a statement to elicit incriminating information. See

 Hernandez-Mendoza, 600 F.3d at 976-77. Thus, the court does not suppress

 this statement. In short, the court rejects the Report and Recommendation’s

 finding that Ahrendt’s pre-arrest statements should be suppressed. The court

 sustains the Government’s objection as it relates to the pre-arrest statements


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 and finds they are admissible.

       C. Post-Arrest Statements

       Ahrendt’s post-arrest statements, however, are different. After arresting

 Ahrendt, investigating the pickup truck, and returning to Ahrendt roughly ten

 minutes later, Officer VanDiepen asked Ahrendt several questions about

 whether Ahrendt had a medical marijuana card on him and whether Ahrendt

 had any proof of such card either on his person or in the truck. See Exhibit 2

 at 18:55-20:30. Ahrendt responded “no” each time. See id.

       Ahrendt was clearly in custody at this point because he was under

 arrest. See Treanton, 57 F.4th at 641. And Ahrendt was subject to interrogation

 because these questions were “reasonably likely to elicit” incriminating

 information, because they were targeted at whether Ahrendt was legally

 allowed to have medical marijuana. See Bailey, 831 F.3d at 1038. The public

 safety exception does not apply here because once Ahrendt is arrested,

 handcuffed, and placed in the back of the vehicle, Ahrent no longer had access

 to a potential firearm or marijuana, and thus an officer’s questioning about

 Ahrendt’s marijuana was no longer reasonably prompted out of a concern for

 public safety. Thus, the court finds Ahrendt’s admission to not having evidence

 of his medical marijuana card on his person or in the truck to be inadmissible

 under Miranda. 7


 7 The court notes that when Officer VanDiepen arrested Ahrendt and searched

 his person, Officer VanDiepen asked Ahrendt whether Ahrendt had anything in
 his pockets that would poke Officer VanDiepen. See Exhibit 2 at 10:00-11:35.
 This question does not constitute interrogation for Miranda purposes because it
 is routine and reasonably aimed at officer safety rather than incriminating
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                                   CONCLUSION

       The court overrules Ahrendt’s objections and sustains the Government’s

 objection. In doing so, the court adopts in part, modifies in part, and rejects in

 part Magistrate Judge Duffy’s recommendation, and ultimately grants in part

 and denies in part Ahrendt’s motion to suppress. Specifically, the court grants

 Ahrendt’s motion to suppress his post-arrest statements regarding whether he

 had evidence of a medical marijuana card on his person or in the truck. The

 court denies Ahrendt’s motion to suppress the evidence found on his person

 and in the truck, and his pre-arrest statements to officers. Thus, it is

       ORDERED that the Report and Recommendation (Docket 29) is adopted

 in part, modified in part, and rejected in part. Ahrendt’s to suppress (Docket

 21) is granted in part and denied in part.

       Dated January 11, 2024.

                                        BY THE COURT:

                                        /s/ Karen E. Schreier
                                        KAREN E. SCHREIER
                                        UNITED STATES DISTRICT JUDGE




 statements, and thus the court declines to suppress Ahrendt’s response. See
 Hernadez-Mendoza, 600 F.3d at 976-77.
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